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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


                       Logan A. Owsley                         )
                             Plaintiff                         )
                                v.                             )      Case No.     1:15-cv-00552-RLY-MJD
                   Mark E. Gorbett, et al.                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Logan A. Owsley                                                                                    .


Date:          02/15/2016                                                             /s/ Anand Swaminathan
                                                                                         Attorney’s signature


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